Case 8:21-cv-01130-DKC Document 1-1 Filed 05/08/21 Page 1of1
er Clee CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORA) *

I. (a) PLAINTIFFS DEFENDANTS
Mark Zaid Department of Justice
(b) County of Residence of First Listed Plaintiff Washington County of Residence of First Listed Defendant*
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: —IN-LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (f Known)

Bradley P. Moss

Il. BASIS OF JURISDICTION uace an “¥” in One Bax Only) IT. CITIZENSHIP OF PRINCIPAL PARTIES (Place an.“X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
A! US. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 71 O 1 Incorporated or Principal Place 94 04

of Business In This State

%2 U.S. Government 4 Diversity Citizen of Another State J 2 2 Incorporated avd Principal Place A 5 5
Defendant (Indicate Citizenship of Parties in Item Til of Business In Another State
Citizen or Subject of a 3 GO 3 Foreign Nation 6 6

Forcign Country

Click here for: S
BANKRUPTCY |

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IV. NATURE OF SUIT (Piace an °° in One box
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1 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 1 422 Appeal 28 t 15 OF 375 False Claims Act
OF 120 Marine 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 | C1 423 Withdrawal 376 Qu Tam (31 USC
130 Miller Act © 315 Airplane Product Product Liability 690 Other 28 USC 187 372%a))
C1 140 Negotiable Instrument Liability 1 367 Health Care/ , 1 400 State Reapportionment
O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaccutical =e G 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights 7 430 Banks and Banking
O 151 Medicare Act CO 330 Federal Employers’ Product Liability J 830 Patent & 450 Commerce
1 152 Recovery of Defaulted Liability 1 368 Asbestos Personal “TV 840 Trademark 1 460 Deportation
Student Loans 340 Marine Injury Product 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability 2 Hees i Corrupt Organizations
C153 Recovery of Overpayment - Liability PERSONAL PROPERTY | (7 710 Fair Labor Standards J 861 HIA (1395ff O 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud Act 7 862 Black Lung (923) 4 (Sat TV
160 Stockholders’ Suits O 355 Motor Vehicle © 371 Truth in Lending 720 Labor/Management J 863 DIWC/DI i 850 Securities/Commodities/
Oi 190 Other Contract Product Liability 380 Other Personal Relations Fl 864 SSID Tit Exchange
OG 195 Contract Product Liability | 360 Other Personal Property Damage O 740 Railway Labor Act 865 RSI (405¢g)} O 890 Other Statutory Actions
7 196 Franchise Injury 1 385 Property Damage 751 Family and Medical & 891 Agricultural Acts
C1 362 Personal injury - Product Liability Leave Act OF 893 Environs | Matters
1 790 Other Labor Litigation & 895 Freedom of Information

Medical Malpractice

__OCINTL RIGUTS NS] 791 Employce Retirement _ FEDERAL TAX SUITS Act
MM 216 Land Condemnation M7 440 Other Civil Rights Habeas Corpus: Income Security Act | M1 870 Taxes (U.S. Plaintiff 1 896 Arbitration
220 Foreclosure O 441 Voting © 463 Alien Detainee ’ or Defendant) T 899 Administrative Procedure
230 Rent Lease & Ejectment © 442 Employment © 516 Motions to Vacate @ J 871 IRS—Third Party Act/Review or Appeal of
M7 246 Torts to Land 7 443 Housing/ Sentence 4 26 USC 7609 Agency Decision
C245 Tort Product Liability Accommodations © 530 General O 950 Constitutionality of
[ 290 All Other Real Property ( 445 Amer. w/Digabilities - | 535 Death Penalty © VMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
0 446 Amer. w/Disabilitics -| 540 Mandamus & Other | 465 Other Immigration
Other O 556 Civil Rights Actions
O 448 Education (1 555 Prison Condition
(1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “x” in One Box Only)
M1 ori ginal 2 Removed from 3. Remanded from 4 Reinstated or © 5 Transferred from 0 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

ispecifv,) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
5 U.S.C 552 and 5 U.S.C. 552a

Brief description of cause: 5

Action to compel disclosure of responsive records

VI. CAUSE OF ACTION

Vil. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes  BKNo
VU. RELATED CASE(S)
IF ANY (See instructions): TUDGE DOCKET NUMBER
=e : LO =e : - =

DATE === SIGNATURE OF £

FOR OFFIC USESONLY &

RECEIPT # AMOUNT APPLYING JFP JUDGE MAG. JUDGE
